TheCase 19-00208-SMT
    order              Doc 20
           below is hereby     Filed 05/23/19
                           signed.                        Entered 05/24/19 00:13:14         Desc Imaged
                                  Certificate of Notice    Page 1 of 3
Signed: May 21 2019




                                                       _____________________________
                                                       S. Martin Teel, Jr.
                                                       United States Bankruptcy Judge




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLUMBIA
       IN RE:

       Jacqueline D White, DEBTOR                        CASE NO. 19-00208-SMT

                                                         TRIAL DATE: May 23, 2019

       Bryan S. Ross, TRUSTEE                            CHAPTER 7

                             ORDER TERMINATING AUTOMATIC STAY
                        Real Property at 5111 13th St NW, Washington, D.C. 20011

              Upon consideration of the Motion for Relief from Stay filed by the THE BANK OF
       NEW YORK MELLON f/k/a THE BANK OF NEW YORK as Trustee for HOME EQUITY
       LOAN TRUST 2007-FRE1, Movant (Nationstar Mortgage LLC), Servicer, for good cause
       shown, and no opposition having been filed thereto, it is:

               ORDERED, that the stay of 11 U.S.C. Section 362(a) be and hereby is terminated so as
       to permit the Noteholder, or its assigns, to enforce its rights under the provisions of the Deed of
       Trust, and/or to resume or commence foreclosure proceedings under the provisions of the Deed
       of Trust dated November 14, 2006, and recorded among the land records of District of Columbia
Case 19-00208-SMT       Doc 20 Filed 05/23/19 Entered 05/24/19 00:13:14                  Desc Imaged
                             Certificate of Notice Page 2 of 3


    as Instrument Number 2006164879 and secured by the real property of the Debtor at 5111 13th
    St NW, Washington, D.C. 20011; provided, however, that any surplus proceeds from the
    IRUHFORVXUHVDOHDIWHUWKHVDWLVIDFWLRQRI0RYDQW¶VGHEWDQGSD\PHQWRIVDOHFRVWVVKDOOEHSDLG
    to the trustee for distribution through the bankruptcy estate; and, it is further;

            ORDERED, that this relief shall excuse the Movant, its successors and assigns, from
    filing notices of payment change under Bankruptcy Rule 3002.1; and it is further;

            ORDERED, that this relief shall apply to proceedings for possession of the real property
    after the foreclosure.

    Copies to:

    Jacqueline D White
    5111 13th Street
    NW Washington, D.C. 20011

    Copies were sent electronically via the CM/ECF system to Sherrie A. Smith, Attorney for Debtor
    and Bryan S. Ross, Trustee.
        Case 19-00208-SMT              Doc 20 Filed 05/23/19 Entered 05/24/19 00:13:14                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 19-00208-SMT
Jacqueline D White                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 21, 2019
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 23, 2019.
db             +Jacqueline D White,   5111 13th Stree, NW,   Washington, DC 20011-6911

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 23, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2019 at the address(es) listed below:
              Bryan S. Ross    ysnore@aol.com, bross@ecf.axosfs.com
              Dinh Ngo    on behalf of Creditor    THE BANK OF NEW YORK MELLON f/k/a THE BANK OF NEW YORK as
               Trustee for HOME EQUITY LOAN TRUST 2007-FRE1 dngo@mwc-law.com
              Sherrie A. Smith    on behalf of Debtor Jacqueline D White sas999@aol.com,
               r46363@notify.bestcase.com
              U. S. Trustee for Region Four    USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
